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                                    April 10, 2019


The Honorable Judge Theodore D. Chuang
United States District Court for the District of Maryland, Southern Division
6500 Cherrywood Lane, Suite 245A
Greenbelt, Maryland 20770


      Re:    Parks v. Baltimore Police Department, et al., Case No. 18 CV 3092
             Notice of Intent to File a Motion

Dear Judge Chuang,

       Pursuant to the Court’s Case Management Order (Doc. 7) entered in this
case, Plaintiff Garreth Parks respectfully submits this Notice of Intent to File a
Motion to file an amended complaint.

      Mr. Parks filed his federal lawsuit on October 8, 2018. He alleges that he was
wrongfully convicted of and served more than 16 years in prison for a murder he did
not commit due to the misconduct of several Baltimore Police Department Officers
and unconstitutional policies and practices of the Baltimore Police Department.

       Plaintiff’s complaint mistakenly names Victor Hagee and Barry Grant as
defendants. Since filing his complaint, Plaintiff has learned that Charles Hagee, not
Victor Hagee, should have been named as a defendant, and both Charles Hagee and
Barry Grant are deceased. Plaintiff now respectfully requests leave to file an
amended complaint naming the personal representatives of the estates of Grant and
Hagee as defendants. See Ex. A (Proposed Amended Complaint).

       Federal Rule of Civil Procedure 15(a)(2) provides that “a party may amend its
pleading only with the opposing party’s written consent or the court’s leave.” Fed. R.
Civ. P. 15(a)(2). “The Court should freely give leave when justice so requires.” Id.
The Fourth Circuit has construed this to mean “that leave to amend a pleading
should be denied only when the amendment would be prejudicial to the
opposing party, there has been bad faith on the part of the moving party, or the
amendment would have been futile.” Laber v. Harvey, 438 F.3d 404, 426 (4th Cir.
2006) (en banc) (internal quotation marks omitted).
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       Here, both criteria under FRCP 15 have been met. First, the opposing parties
do not object to Plaintiff’s filing the amended Complaint to identify the personal
representatives of the estates of the deceased defendants.

       Second, justice requires that Plaintiff be permitted to file an amended
complaint naming the proper parties. Plaintiff’s motion is brought in good faith and
so that he may proceed with his claims. Further, amendment will not be futile:
Plaintiff’s claims survive the deaths of Mr. Grant and Mr. Hagee. Jones v. Prince
George’s County, Md., 541 F.Supp.2d 761, 764 (D.Md. 2008) (“It is well-settled law
in Maryland… that a cause of action at the time of death survives the death of the
person.”). Lastly, no party will be prejudiced if Plaintiff’s motion is granted. The
personal representative of the estate of Charles Hagee is aware of Plaintiff’s claims
against him and has agreed to waive service. Plaintiff has also served the personal
representative of the estate of Barry Grant with the operative complaint, and will
issue a summons with the amended complaint naming the personal representative
of the estate as a Defendant when one is filed.

       Lastly, the Defendants have asked that (1) the personal representative of
Charles Hagee’s estate be joined to the pending motion to dismiss, Doc. No. 51, and
(2) that the pending motions to dismiss be construed against the Amended
Complaint, so that the parties do not have to refile. Plaintiff does not object to these
requests. Indeed, the only change from the initial Complaint to the Amended
Complaint is simply substituting the personal representatives of the Estates of
Charles Hagee and Barry Grant in for the Defendants. There have been no changes
to the substantive allegations in the Complaint, or even the numbering of the
paragraphs of the Complaint.



                                               Sincerely,




                                               Katie Roche
